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Tnn\ [TE‘PB nhl EH./I.I.] z'£lBT IIEL on. Eo!TE

sewing

EpIEH=§{

'aurp, s‘_rq:p, alo_;aq am woman award musurmnu ina a.wq nmi 51

miss v APPH=>W
nn (P“IB U¢Pun"l) TIIEDI -'LE anss; 01 puzltty cm :|Eq:; asec'[az ssa.uI 1a _;n map 'c-: §§ juaqu

sm

 

 

[ moun_.p 01 saB'sdgn caqu
amu§pnng nimmer _ :n:ru;rg
UUUZ ‘4-5“3“"¢7 `[S :‘-'='~*113[[
Ezz§ L fir zozuu =DN va
dump qE>[E'j[ ideg
flow m :o,L
war m (ILwJ H==PHH“I wm

zzzv mv (Iz.m) U¢PWI FQH°H¢T=I=.I.
VI`.|L WZCJH mw ‘1'-1$115 fmle z 'QHI\¢H 11an ‘Pmm’z wm mm

liququ Eu§:,!g |auq§;|,nu,laq,u| 3141

V:)AlI-IC)LILI.

_lr'l'l'l

z :E.I .!.B:tzt1 `“`én/Eu.r£n Ezz'as.w znz+ :

'-..

ap haag xug

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zonl IToT:B uhl IH»"X.L] z‘r¢i'£ IIH.L no. anne

 

uszv am nz(o) 1=»1:'+1'5,1, nnpuoq hugean sgm[ magma
.. __ § .=,~.r.p wm ma m mmqu mo m mm m MW E.d“g..§
i" "l"h§L'-!-*Ip Hd'-JW§ § 112 mmi sioux summ£od mamman.:£ ahpm.mo wagon n; slow poe 'ggg'; cry smgddus

tp_u¢ mom emma pam[nmn::'e £[palmda.t seq duane mem s¢qez\'eq §§ qngqm ‘;uamms.m§
am 'a:|.mg wyd£§g sip mn.g muem£ad Hcrgu=r[[oo 1I_c ;h{nog;!p Hu}EBa._Iou} E¢qequ*f s::::aq;;a.: ranges
EU!I¢-I E.rfu. "-='AIMHN mm SE.HPH 11'= .+HE:, an £11€>1#'13 flth W’E mn 1'='§ EUFW-f PG-m==mn
lomas gdill Pmld EHP=H. m vivan SEI$P-= mem-mm am ‘qm!zt moot asu$nv c£-H=JPWI-fi=lz».-I

 

E[AILVD'E[N I-ID .LVM DN[.LVE[ NO CZE[O V’Icf[ I'IV}IV"I

l

h

E :Ec'f Z.E!TZ EEJ'EEIHEE EZZ'EIZ.TIF ZE!Z+ 2 E'P “51"3*1 }"~E'.I

